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                    IN THE CIRCUIT COURT OF THE FOURTH JUDICIAL CIRCUIT
                              IN AND FOR DUVAL COUNTY, FLORIDA
                                        CIVIL DIVISION

        ADB REAL ESTATE HOLDINGS, LLC
        ALEXANDER DEGANCE BARNETT PA

               Plaintiffs,

        vs.                                                   CASE NO.:16-2022-CA-006474-XXXX-MA

        NATIONWIDE INSURANCE COMPANY
        OF AMERICA

               Defendant
        ________________________________/


                                           AMENDED COMPLAINT

               Plaintiffs, ADB REAL ESTATE HOLDINGS, LLC and ALEXANDER DEGANCE

        BARNETT PA (collectively “ADB”) by and through their undersigned counsel, sue the

        Defendant, NATIONWIDE INSURANCE COMPANY OF AMERICA (“Nationwide”). ADB

        files this Amended Complaint to add the necessary party, co-Plaintiff Alexander DeGance Barnett

        PA. Alexander DeGance Barnett PA was inadvertently excluded from the original Complaint,

        filed on November 8, 2022. The Amended Complaint shall relate back to the date of the original

        Complaint when the claim asserted arose out of the same conduct, transaction, or occurrence set

        forth in the initial pleading. Fla. R. Civ. Pro. 1.190(c); Kopel v. Kopel, 229 So. 3d 812 (Fla. 2017).

        In support, ADB states as follows:

                                          GENERAL ALLEGATIONS

               1.      This is an action for breach of contract wherein the Plaintiffs, ADB, seek damages

        exceeding Thirty Dollars ($30,000), exclusive of fees and costs.
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         2.     ADB are Florida corporations located at 1500 Riverside Ave., Jacksonville, FL

32204.

         3.     At all times material to this cause of action the Defendant, was and is a corporation

in the business of insurance, and conducting business in Jacksonville, Duval County, Florida, and

throughout the State of Florida.

                                       BREACH OF CONTRACT

         4.     Plaintiffs purchased a Property Policy of insurance from Nationwide, which insured

ADB’s property located at 1500 Riverside Avenue, Jacksonville, FL 32204. A copy of the policy

was attached to the original Complaint as “Exhibit A” and is hereby incorporated by reference.

         5.     ADB has paid all premiums on said policy, and the policy was in full force and

effect at all relevant times herein.

         6.     On or about January 10, 2021 ADB reported discovered damage to its property

located at 1500 Riverside Avenue, Jacksonville, FL 32204.

         7.     The damage to ADB’s property was a covered loss under the subject policy as it

had been caused by water and termite consumption.

         8.     ADB made application for insurance benefits under the policy and

Defendant/Insurer, Nationwide, denied coverage for the loss and has failed/refused to properly pay

benefits to which ADB is entitled for its loss.

         9.     ADB has complied with all conditions precedent to obtaining payment and bringing

all causes of action, including but not limited to Florida Statute §627.70152, alleged in this

Complaint or Nationwide has waived or is estopped from asserting the same.

         10.    Nationwide has breached its insurance contract by denying the claim and failing to

pay all of the aforementioned benefits due and owing under the policy.
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        11.     ADB has suffered damages in excess of $250,000 as a result of not having benefits

paid pursuant to the insurance policy.

        12.     Nationwide’s conduct has caused ADB to retain legal counsel to represent its

interests in this cause. As such, Defendant, Nationwide, is liable to pay reasonable attorney’s fees

pursuant to Florida Statute §§627.428 and 627.70152.

        WHEREFORE, Plaintiffs, ADB Real Estate Holdings, LLC, and Alexander DeGance

Barnett PA demand judgment against the Defendant, Nationwide, Insurance Company of America,

for an amount exceeding Thirty-Thousand Dollars ($30,000), exclusive of costs, interest, pre-

judgment interest, attorney’s fees and costs, and all other relief deemed just and appropriate by

this Court, and Plaintiffs respectfully requests a jury trial.

        DATED this 4th day of January, 2023


                                                        ADB Real Estate Holdings, LLC
                                                        Alexander DeGance Barnett PA
                                                        Plaintiffs,


                                                        By:________________________________
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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 4th day of January, 2023, a true and correct copy of the

foregoing was served via the e-filing portal on THOMAS A. KELLER, ESQ., D. GRAYSON

KELLY, ESQ., VIVIANA SALETNIG, ESQ. of BUTLER WEIHMULLER KATZ CRAIG

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gkelly@butler.legal; vsaletnig@butler.legal and hcaraballo@butler.legal;.

                                                   _____________________________
                                                   Andrew P. Ketterer, Esquire
